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 4
     Attorney for Defendant
 5   ROBB CHEAL
 6
 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                        ) Case No.: 2:12-cr-00185 TLN
                                                      )
11                          Plaintiff,                ) STIPULATION AND ORDER TO
                                                      ) CONTINUE STATUS CONFERENCE
12           vs.                                      )
                                                      )
13   ROBB CHEAL,                                      )
                                                      )
14                          Defendants.               )
                                                      )
15
16
             IT IS HEREBY STIPULATED by and between the parties hereto through their
17
     respective counsel, Jason Hitt, Assistant United States Attorney, attorney for plaintiff, and
18
     Michael E. Hansen, attorney for defendant Robb Cheal, that the previously-scheduled status
19
     conference date of February 14, 2019, be vacated and the matter set for status conference on
20
     May 16, 2019, at 9:30 a.m.
21
             This continuance is requested because defense counsel needs time to review discovery
22
     in this case. Undersigned is new to the case and the amount of discovery is unknown. The
23
     matter is post-plea and does not require an exclusion of time.
24
             The Government concurs with this request.
25
             Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
26
     /////
27
     /////
28



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     Stipulation and Order to Continue Status Conference
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 1            IT IS SO STIPULATED.
 2   Dated: February 11, 2019                              Respectfully submitted,
 3                                                         /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
 4                                                         Attorney for Defendant
                                                           ROBB CHEAL
 5
     Dated: February 11, 2019                              McGREGOR SCOTT
 6                                                         United States Attorney
 7                                                         By: /s/ Michael E. Hansen for
                                                           JASON HITT
 8                                                         Assistant U.S. Attorney
                                                           Attorney for Plaintiff
 9
10                                                ORDER
11                  The Court, having received, read, and considered the stipulation of the parties,
12   and good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its
13   order.
14                  It is further ordered that the February 14, 2019, status conference shall be
15   continued until May 16, 2019, at 9:30 a.m.
16            IT IS SO ORDERED.
17   DATED: February 12, 2019
18
                                                           Troy L. Nunley
19                                                         United States District Judge
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     Stipulation and Order to Continue Status Conference
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